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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,

      v.                                         Case No. 1:09-CR-335 (RJL)

PANKESH PATEL et al.,

            Defendants.




             DEFENDANT PANKESH PATEL’S CONSENT MOTION
                  TO MODIFY CONDITIONS OF RELEASE


       Defendant Pankesh Patel, through undersigned counsel, hereby submits this

consent motion to modify his conditions of release in order to allow him to travel to the

United Kingdom and reside there, subject to conditions imposed by this Court to ensure

his presence for all necessary hearings and trial. In support thereof, Patel states as

follows:

       1. On January 29, 2010, following his arrest in Criminal Case No. 1:09CR340

(RJL), recently superseded by Criminal Case No. 1:09CR335 (RJL), Pankesh Patel, a

citizen of the United Kingdom, was released from custody by a United States Magistrate

Judge in the District of Nevada, after posting a $1,000,000 appearance bond, secured by

$100,000 in cash and the deed to certain real property, appraised at roughly $590,000,

owned by Patel’s cousin. Patel surrendered his passport and agreed to restricted travel in

the United States and other pretrial reporting requirements.




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        2. On February 3, 2010, Patel appeared before this Court and the conditions of

release set in Nevada were continued. Patel was permitted to travel only within a 25 mile

radius of Washington, D.C.

        3.   Since his release Patel has abided by all required terms and conditions

imposed, has regularly reported to Pre-Trial Services, and has been present in Court at all

hearings that required his attendance (with prior Court approval, Patel did not attend the

May 7, 2010 hearing on the Government’s Motion to Toll the Speedy Trial Clock

because he had withdrawn his opposition to the Government’s Speedy Trial Motion and

accordingly the hearing did not pertain to him).

        4. On or about May 14, 2010, counsel for Patel reached agreement with counsel

for the Government to request that this Court modify the conditions of release pending

trial in order for Patel to return to the United Kingdom to work and be with his family.

Specifically, the parties agreed to the following conditions subject to Court approval:

                a. Patel will relinquish his passport to counsel upon arrival in the United

Kingdom, and agree not to travel outside the United Kingdom except to return to the

United States as necessary to prepare for trial or to attend hearings without a further order

from this Court. In addition, Patel will not seek to obtain a new passport.

                b.   Patel will waive extradition should he be arrested for violating

conditions of release, and sign an affidavit attesting to that fact.

                c. Patel will report telephonically to the Pre-Trial Services Office on a

weekly basis, or as the supervising officers require, and will abide by any other reporting

requirements imposed by Pre-Trial Services.




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       5. In addition, Patel has withdrawn his opposition to the Government’s March 10,

2010 Motion to Toll the Speedy Trial Clock (Docket No. 47).

       6.    Counsel for Mr. Patel has discussed these conditions with the Pre-Trial

Services Office and they do not oppose this Consent Motion.

       7. Counsel for the Government has reviewed this Consent Motion and does not

oppose its filing or the entry of a Court Order modifying the conditions of release as

requested.

       For the foregoing reasons, Pankesh Patel respectfully requests that this motion be

granted and that his conditions of pretrial release be modified to permit him to travel to

and reside in the United Kingdom prior to the trial in this matter subject to the suggested

terms and conditions imposed to assure his appearance in this Court as required.



Dated: May 20, 2010

                                             Respectfully submitted,

                                                /s/ Eric B. Bruce           .
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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of May, 2010, the above Defendant Pankesh

Patel’s Consent Motion to Modify Conditions of Release was served electronically via

the District Court’s electronic filing system on:


Hank Bond Walther                                   Matthew C. Solomon
Joseph Lipton                                       U.S. Department of Justice
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U.S. Department of Justice                          Room 5233
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                                                    /s/ Eric B. Bruce____________
